Case 1:15-cv-03752-JBS-AMD Document 51 Filed 09/13/17 Page 1 of 3 PageID: 600




   ANDRES    &    BERGER,    P.C.
   264 Kings Highway East
   Haddonfield,       NJ        08033
   (856)    795-1444
   Attorneys for plaintiffs
   MB 6260


                                UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW   JERSEY
                     HONORABLE       JEROME B. SIMANDLE,    CHIEF   JUDGE
                                          CAMDEN VICINAGE



  VERSIE L. DUPONT,             general               Civil Action no.
  administrator and adminis­                          1:15 CV   03·752   JBS   AMO
   trator    ad prosequendum of          the
  estate of        LAKEISHA R. MAYNER­                         Civil Action
   DUPONT,       deceased,      and VERSIE
   L.   DUPONT,     individually,                           ORDER TO DISBURSE
                                                         SETTLEMENT      INVOLVING
           Plaintiffs,                                       MINOR CHILDREN


  v.


  UNITED STATES OF AMERICA;
  EYTAN BARNEA M.D.;             ERIC CHANG
   0.0.;   MARILYN GORDON M.D.;
  SHAMEKA        BUSSIE R.N.;       DORIAN
   JACKSON R.N.P.;          ANAIS ORTIZ
   R.N.;    JOHN    DOE    #1-15
   (fictitious);          JANE ROE      #1-15
   (fictitious);          and   JOHN DOE
   EMPLOYERS       #1-15    (fictitious),
  individually,           jointly,
  severally,        and/or in the
  alternative,


           Defendants.
Case 1:15-cv-03752-JBS-AMD Document 51 Filed 09/13/17 Page 2 of 3 PageID: 601




               THIS MATTER having come before the Court                    in accordance


  with local    rule 5.3(d)       and comment to          local rule 5.3(d)(l), for


  approval of settlement, and the attorneys for the parties having


  reported to the Court that plaintiffs and defendant on behalf of


  itself and its agents and/or employees have arrived at a settle-


  ment of plaintiff's claim, and the Court having then taken proofs


  on the record and having approved said settlement;


               IT    IS on this       I 0 "'=-   day of    �.            , 2017, ORDERED


  that   judgment is entered on behalf of plaintiff Versie L.                       Dupont,


  general administrator and administrator                    ad prosequendum of the


  estate of Lakeisha R. Mayner-DuPoint, deceased, and Versie L.


  Dupont, individually, in the gross amount of                      $450,000.00 as to


   defendant, United States of America, without costs and/or


   interest;


               IT    IS    FURTHER ORDERED that the following deductions


   shall be made from the gross settlement and paid by defendant                        in


   separate drafts as follows:


               (a)        $248,569.77 to be paid to Versie L.              Dupont,
                          surviving spouse; and


               (b)        $10,000.00 to be paid to L.D., date of birth:
                          2007, Social      Security no. 5611, surviving
                          daughter;   and


               (c)        $10,000.00 to be paid to S.D., date of birth:
                          2009, Social      Security no.      0415,     surviving
                          daughter;   and


               (d)        $75,000.00 to be paid           to State of    New   Jersey
                          representing Medicaid           lien;   and




                                                 -2-
Case 1:15-cv-03752-JBS-AMD Document 51 Filed 09/13/17 Page 3 of 3 PageID: 602




              (e)        $81,189.92 to be paid to plaintiff's       counsel for
                      counsel fees;         and


              (f)        $25,240.31   to be paid to plaintiff's counsel
                      for actual disbursements, costs,        and/or
                      expenses;       and


              IT    IS    FURTHER ORDERED pursuant to R.4:48A that the net


 recovery of       $10,000.00 shall be paid by or on behalf of defendant


 by check payable to the Surrogate of Camden County for the


 benefit of L.D. within           Cs> c)    days of the date of this order;   and


              IT IS       FURTHER ORDERED pursuant to R.4:48A that the net


 recovery of       $10,000.00 shall be paid by or on behalf of defendant


 by check payable to the Surrogate of Camden County for the


 benefit of    S.D.      within   {, 0      days of the date of this order.




                                                      JEROME B.   SIMANDLE




                                              -3-
